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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 RALPH “TREY” JOHNSON, STEPHANIE
 KERKELLES, NICHOLAS LABELLS,
 CLAUDIA RUIZ, JACOB WILLEBEEK-
 LEMAIR, ALEXA COOKE, RHESA
 FOSTER, ZACHARY HARRIS,
 MATTHEW SCHMIDT, TAMARA                                   Civil Action No. 19-cv-5230 (JP)
 SCHOEN STATMAN, GINA SNYDER,
 ESTEBAN SUAREZ and LIAM WALSH,                            MEMORANDUM IN SUPPORT
 individually and on behalf of all persons                 OF MOTION TO DISMISS THE
 similarly situated,                                       THIRD AMENDED COMPLAINT
                                                           PURSUANT TO RULES 12(b)(2)
                               Plaintiffs,                 (Lack of Personal Jurisdiction),
                                                           12(b)(3) (Improper Venue),
                v.                                         12(b)(6) (Failure to State a Claim),
                                                           OR TO TRANSFER (28 U.S.C.
 THE NATIONAL COLLEGITATE                                  §§1404(a) and 1406(a))
 ATHELTIC ASSOCIATION, CORNELL
 UNIVERSITY, FORDHAM UNIVERSITY,
 LAFAYETTE COLLEGE, SACRED
 HEART UNIVERSITY, VILLANOVA
 UNIVERSITY, UNIVERSITY OF
 OREGON, TULANE UNIVERSITY,
 UNIVERSITY OF NOTRE DAME,
 UNIVERSITY OF ARIZONA, PURDUE
 UNIVERSITY, DUKE UNIVERSITY, and
 MARIST COLLEGE,

                               Defendants.



       The Defendant, DUKE UNIVERSITY (“Duke” or “Duke University”), pursuant to Federal

Rules of Civil Procedure Rules 12(b)(2), 12(b)(3), 12(b)(6), and 28 U.S.C. §§ 1404(a) and 1406(a),

submits this Memorandum in support of Duke’s Motion to Dismiss the Plaintiffs’ Third Amended

Complaint (ECF No. 134), or, in the alternative, to transfer the Plaintiff ESTABAN SUAREZ

(“Suarez”)’s claims to the U.S. District Court for the Eastern District of North Carolina.
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I.     INTRODUCTION

       Of the thirteen individual plaintiffs suing their universities and the NCAA for alleged

violations of the Fair Labor Standards Act (“FLSA”) and various state laws, only one, Suarez,

alleges that he attended Duke University. Duke is specifically mentioned in only three paragraphs

of the 716-paragraph Third Amended Complaint. (ECF No. 134 at ¶¶ 33, 50, ¶ 432 n.26.) These

three paragraphs recite that Suarez was a member of Duke’s track-and-field team from 2016 to

2020, that Duke’s mission statement contains no reference to athletics, and that Duke is the only

North Carolina-based university in this lawsuit.

       Suarez resides in Los Angeles, California. He makes no allegation that he has ever been

to Pennsylvania, let alone competed in track and field in Pennsylvania. He makes no allegation

that his alleged employment claims against Duke arose in Pennsylvania. In fact, other than being

a Plaintiff in this lawsuit, Suarez alleges no connection with Pennsylvania whatsoever.

       Nor does Suarez allege that Duke University has sufficient contacts with Pennsylvania such

that Pennsylvania courts may exercise personal jurisdiction over it. To the contrary, Duke

University is a non-profit research and educational institution under North Carolina law and

maintains its offices and principal place of business in North Carolina. Between 2016 and 2020,

the time period that Suarez alleges he was a member of the track-and-field team, Duke’s track-

and-field team competed three times in Pennsylvania; Suarez did not travel with the team or

compete in any of those meets. Duke owns no property in Pennsylvania; Duke does not operate

any offices or lease any office space in Pennsylvania; and Duke owns no vehicles licensed in

Pennsylvania. Duke is not registered to do business in Pennsylvania. Roughly three percent of

Duke’s 7,027 undergraduate students come from Pennsylvania (182) and roughly 1 percent of its



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10,644 professional and graduate students are from Pennsylvania (111). None of Duke’s 33 global

education programs worldwide are offered in Pennsylvania. Of the more than 51,000 people Duke

employs, only a few full-time employees claim a home address in Pennsylvania. Thus, none of

Suarez’s claims arose in Pennsylvania, Suarez has no contacts with and never competed in

Pennsylvania, and Duke’s contacts with Pennsylvania are insufficient to establish either general

or specific jurisdiction. On this basis alone, Duke University should be dismissed.

       Suarez’s claims are also fatally deficient on their substance. Suarez makes no specific

allegations about his claimed employment relationship with Duke University. Moreover, under

both analytical approaches posited by the Third Circuit in this case, because Suarez is a non-

scholarship, “walk-on” athlete, he is a person who, “without promise or expectation of

compensation, but solely for his personal purpose or pleasure, work[s] in activities carried on by

other persons either for their pleasure or profit.” Johnson v. NCAA, 108 F.4th 163, 177 (2024)

(quoting Walling v. Portland Terminal Co., 330 U.S. 148, 152 (1947)). Under the “economic

reality” framework posed by the Third Circuit, and in particular, whether a claimant participated

in athletics “in return for ‘express’ or ‘implied’ compensation or ‘in-kind benefits,’” Suarez has

no claim. 108 F.4th at 180 (quoting Tony & Susan Alamo Found. V. Sec’y of Labor, 471 U.S. 290,

301 (1985)).   Rather, Suarez is one of those “college athletes who ‘play’ their sports for

predominantly recreational or noncommercial reasons.” Id. at 182. And because Suarez cannot

state a claim as an employee under the FLSA, his claims under North Carolina law for breach of

the Wage and Hour Act and for unjust enrichment fail as well.

II.    FACTUAL BACKGROUND

       The Third Amended Complaint alleges that Suarez resides in Los Angeles and from 2016

to 2020 he was a “Student Athlete on Duke University’s track-and-field team.” (ECF No. 134 ¶



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33.) These are the sole allegations that are individualized to Suarez.1 Suarez does not allege when,

where, how, or in what form his claimed employment agreement came to be—whether it was in

writing, a verbal agreement, or based on some other understanding. He makes no allegations as to

the particulars of this agreement, how long the agreement was to last, or whether it existed year-

round or only during athletic seasons. No other plaintiff claims that he or she was “employed” by

Duke University or makes claims under North Carolina law against Duke.

       Duke University is a non-profit research and educational institution organized under the

laws of North Carolina, where it maintains its offices and principal place of business. (ECF No.

196, Ex. A at ¶ 2.) All of Duke’s executives and corporate officers are located in Durham, North

Carolina. Id. Duke’s home campus is also in Durham, where it serves 7,027 undergraduate

students, and 10,644 graduate and professional students on the 8,500 acres of land that Duke

controls in the vicinity of its campus. Duke has over 51,000 employees including more than 3,300

faculty, the overwhelming majority of which are located in Durham. Id.

       Duke University’s contact with Pennsylvania is minimal. Duke is not incorporated in

Pennsylvania, nor is it registered to do business in Pennsylvania. (ECF No. 196, Ex. A at ¶¶ 10,

11.) Duke has no agent for service of process in Pennsylvania, (id. at ¶ 13), owns no real property

in Pennsylvania, (id. at ¶ 9), does not lease any office space in Pennsylvania, id., and owns no

vehicles licensed in Pennsylvania, (id. at ¶ 7.) While Duke has 33 global education programs,

none are located in Pennsylvania. (Id. at ¶ 14.) Duke maintains no bank accounts in Pennsylvania.




1
  While Suarez is mentioned by name in various allegations concerning whether a North Carolina
class is appropriate, ¶¶ 432-66, and whether class treatment under federal law is appropriate, ¶¶
647-60, these allegations are duplicative of the allegations for every other plaintiff in this matter,
with the only changes being the substitution of “Suarez” and “North Carolina” for the identical
claims of the other plaintiffs.
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(Id. at ¶ 12.) Out of Duke’s more than 51,000 employees, only 34 who receive compensation list

Pennsylvania as an address for purposes of payroll information. (Id. at ¶ 2.)

       Duke does admit students from Pennsylvania (as well as from all 50 states and worldwide.

Out of the roughly 17,700 students that attend Duke in the 2024-25 academic year, 293 (1.6%) are

from Pennsylvania.2 (ECF No. 196, Ex. A at ¶ 4.) The only formal office that Duke maintains for

undergraduate admissions is in Durham, North Carolina. The largest percentage of students

matriculating at Duke University are from North Carolina (12%).

       Duke athletic teams do, from time to time, compete in Pennsylvania, largely because the

University of Pittsburgh is a Member of the Atlantic Coast Conference. Between 2016 and 2020,

the Duke University track-and-field team competed three times in Pennsylvania at the Penn

Relays. (ECF No. 196, Ex. A at ¶ 19.) Suarez made none of those trips as a member of the Team.

(Id. at ¶¶ 19-20.) In fact, there is no record that Suarez ever competed on a Duke athletic team in

Pennsylvania, and the Complaint makes no allegations to the contrary. (Id. at ¶ 21.) At all times

relevant to the Third Amended Complaint, Suarez was a “walk-on” member of the track-and-field

team and was not on an athletic scholarship. (Id. at ¶¶ 16, 18.)

III.   LEGAL STANDARD

       In an action brought under the FLSA, this Court’s jurisdiction rests upon whether

Pennsylvania may exercise jurisdiction over a defendant under Pennsylvania’s long-arm statute

and Due Process. Szewczyk v. United Parcel Serv., Inc., 2019 WL 5423036, at *8 (E.D. Pa. Oct.

22, 2019). If the Court lacks personal jurisdiction over a defendant on an FLSA claim, the FLSA

claim must be dismissed and there is no basis for exercising pendant or supplemental jurisdiction




2
 Roughly the same percentage of Duke students were from Pennsylvania in 2021, at the time the
Second Amended Complaint was filed. (ECF No. 196, Ex. A at ¶ 4.)
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over state-law claims. See, e.g., Grezak v. Ropes & Gray, LLP, 809 F. App’x 60, 63 n.6 (3d Cir.

2020). Each plaintiff in a collective FLSA action “must be assessed individually.” Vizant Techs.,

LLC v. Whitchurch, 97 F. Supp. 3d 618, 628 (E.D. Pa. 2015) (quoting Calder v. Jones, 465 U.S.

783, 790 (1984)). Pennsylvania courts have consistently interpreted this requirement to mean that,

in the context of FLSA collective actions, they cannot exercise specific personal jurisdiction over

defendants to resolve claims of their employees where the employees were “not employed and

thus not harmed by [the] defendant[s] in Pennsylvania.” Ruffing v. Wipro Ltd., 529 F. Supp. 3d

359, 368 (E.D. Pa. 2021); see also Weirbach v. Cellular Connection, LLC, 478 F. Supp. 3d 544,

550 (E.D. Pa. 2020) (“[T]his Court cannot exercise personal jurisdiction over the out-of-state

plaintiffs’ claims.”). Only when a court can exercise general jurisdiction over an employer may a

nationwide collective action take place. See Fischer v. Fed. Express Corp., 42 F.4th 366, 388 (3d

Cir. 2022), cert. denied, 143 S. Ct. 1001, 215 L. Ed. 2d 137 (2023); see also In re Enter. Rent-A-

Car Wage & Hour Emp. Pracs. Litig., 735 F. Supp. 2d 277, 309 (W.D. Pa. 2010), aff’d, 683 F.3d

462 (3d Cir. 2012).

       Under Pennsylvania law, jurisdiction is appropriate over out-of-state defendants in two

circumstances: (1) where the defendant’s general activity within the state forms a basis for general

personal jurisdiction under 42 Pa. Cons. Stat. § 5301; or (2) where the specific acts of the defendant

which gave rise to the cause of action form a basis for specific jurisdiction under 42 Pa. Cons. Stat.

§ 5322. See Kubik v. Letteri, 532 Pa. 10, 16, 614 A.2d 1110, 1113 (1992); Morgan v. Confidential

Servs., Inc., 60 Pa. D. & C. 4th 139, 148 (Pa. Com. Pls. 2002). Because Pennsylvania’s long-arm

statute permits a Pennsylvania court to exercise jurisdiction to the full extent allowable under the

14th Amendment’s due process clause, see 42 Pa. C.S.A. § 5322(b), the inquiry “collapses into

whether the Court can exercise personal jurisdiction under the 14th Amendment.” Weirbach, 478



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F. Supp. 3d at 550; see also Fischer, 42 F.4th at 387 (“[T]he opt-in plaintiffs in FLSA collective

actions must satisfy the personal jurisdiction requirements of the Fourteenth Amendment to join

the suit.”); Ruffing, 529 F. Supp. 3d at 364 (noting “court must determine the extent to which the

Due Process Clause of the Fourteenth Amendment would allow Pennsylvania courts to exercise

personal jurisdiction in this action”).

       The benchmark for personal jurisdiction was set forth by the U.S. Supreme Court in

International Shoe Co. v. Washington, 326 U.S. 310 (1945), in which it was held that a court may

exercise jurisdiction over a person or an organization if that person or entity has sufficient

“minimum contacts” with the forum “such that the maintenance of the suit does not offend

‘traditional notions of fair play and substantial justice.’” Id. (quoting Milliken v. Meyer, 311 U.S.

457, 463 (1940)). This principle “presaged the development of two categories of personal

jurisdiction”: general and specific. Daimler AG v. Baurman, 571 U.S. 117, 126 (2014).

       The paradigm forum for a corporation is “one in which the corporation is fairly regarded

as at home.” Mendel v. Williams, 2012 PA Super 171, 53 A.3d 810, 817 (2012) (citing Goodyear

Dunlop Tires Ops., S.A. v. Brown, 564 U.S. 915, 919 (2011) (internal quotation marks and

alterations omitted)); see also 42 Pa. C.S. § 5301. Accordingly, general jurisdiction is appropriate

when a corporation’s “affiliations with the forum State are so continuous and systematic as to

render them essentially at home there.” Mendel, 53 A.3d at 817 (internal quotation marks and

alterations omitted). “[O]nly a limited set of affiliations with a forum will render a defendant

amenable to all-purpose jurisdiction there.” Daimler, 571 U.S. at 137. For a corporation, general

jurisdiction is in the place “in which the corporation is fairly regarded as at home,” equivalent to

the domicile of an individual. Id. Aside from the “exceptional case,” a corporation “is at home

(and thus subject to general jurisdiction, consistent with due process) only in a state that is the



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company’s formal place of incorporation or its principal place of business.” Gucci America, Inc.

v. Weixing Li, 768 F.3d 122, 135 (2d Cir. 2014).

       In the absence of general jurisdiction, a court may nevertheless exercise specific

jurisdiction if the defendant’s contacts with the forum state are the basis of the underlying suit.

See Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472-73 (1985). “Specific jurisdiction is

established when a nonresident defendant has ‘purposefully directed’ his activities at a resident of

the forum and the injury arises from or is related to those activities.” Gen. Elec. Co. v. Deutz AG,

270 F.3d 144, 150 (3d Cir. 2001).

IV.    ARGUMENT

       A.      Duke University Is Not Subject to Personal Jurisdiction in Pennsylvania on this
               Claim (Rule 12(b)(2)).

               1.      There Is No General Jurisdiction Over Duke University in Pennsylvania.

       General jurisdiction over a corporation exists only where “the corporation is fairly regarded

as at home.” Mendel, 53 A.3d at 817 (citing Goodyear Dunlop Tires Ops., S.A., 564 U.S. at 919

(internal quotation marks and alterations omitted)); see also 42 Pa. C.S. § 5301. Accordingly,

general jurisdiction over a corporation is appropriate only where it is incorporated, where it has its

principal place of business, or where its “affiliations with the forum State are so continuous and

systematic as to render [it] essentially at home there.” Mendel, 53 A.3d at 817 (internal quotation

marks and alterations omitted).

       Plaintiffs do not allege that Duke is “at home” in Pennsylvania, and do not aver any facts

that would support such a conclusion. Nor could they. Duke both exists under North Carolina law

and maintains its principal place of business in North Carolina. The “paradigm forum” for general

jurisdiction over Duke is thus North Carolina—not Pennsylvania. Sonera Holding, B.V. v.

Cukurova Holding, A.S., 750 F.3d 221, 225 (2d Cir. 2014) (citing Daimler AG, 571 U.S. at 760)


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(“The paradigm forum for general jurisdiction over an individual is the individual’s domicile, his

home. For a corporation, it is an equivalent place, with the place of incorporation and the principal

place of business being the paradigm bases.”). Moreover, Duke’s contacts with Pennsylvania are

not so “continuous and systematic” as to render it “at home” in Pennsylvania. Again, less than 2%

of Duke’s total student population identifies Pennsylvania as their state of residence; less than one

one-hundredth of a percent of Duke’s employees reside within Pennsylvania; and Duke’s athletic

teams only periodically compete in Pennsylvania (as well as in at least a dozen other states).

Indeed, when faced with the same jurisdictional question, courts in other states have consistently

ruled that Duke is not “at home” outside of North Carolina and is not subject to general jurisdiction

elsewhere. See, e.g., Richards v. Duke Univ., 480 F. Supp. 2d 222 (D.D.C. 2007) (District of

Columbia); Thackurdeen v. Duke Univ., 130 F. Supp. 3d 792 (S.D.N.Y. 2015), aff’d 660 Fed.

Appx. 43 (2d Cir. 2016) (New York); John Wayne Enterprises, LLC v. Duke Univ., 2014 WL

12577086 (C.D. Cal. 2014) (California).

       Colleges and universities, such as Duke, are not “exceptional cases” to the precepts for

general jurisdiction. To the contrary, courts have consistently held that colleges and universities

are not “at home” in states outside of their places of incorporation and where their campuses and

offices are located. In Gehling v. St. George’s School of Medicine, Ltd., 773 F.2d 539 (3d Cir,

1985), for example, the Third Circuit held that colleges and universities are not subject to

jurisdiction based on their students’ original state of residence before attending college, for to hold

otherwise “would subject them to suit on non-forum related claims in every state where a member

of the student body resides.” Id. at 542. Thus, “the fact that residents of the state apply and are

accepted for admission . . . is of no moment.” Id. And, that a university “may be said to derive

some percentage of its revenues from Pennsylvania residents in return for services . . . does not



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subject it to in personam jurisdiction.” Id. at 543. Gehling’s conclusion has been reflected in a

number of similar rulings from the Eastern District of Pennsylvania. For example, in Issacs v.

Trustees of Dartmouth College, 2014 WL 4186536 (E.D. Pa. Aug. 25, 2015), the court held:

       Like all national universities, Dartmouth College maintains some contacts with the
       state including securities held by a bank headquartered in Pennsylvania, the
       recruiting of athletes and faculty living in the state, access to its website from within
       the state, and the admission and enrollment of students coming from the state.
       These de minimis contacts, which any national university may have with the state
       of Pennsylvania, are inadequate to establish general personal jurisdiction in this
       district.

Id. at *12; accord Gallant v. Trustees of Columbia Univ., 111 F. Supp. 2d 638, 640-42 (E.D. Pa.

2000) (holding no general jurisdiction existed over Columbia University, even though it had more

jurisdictional contacts than those at issue in Gehling); Corrales Martin v. Clemson Univ., 2007

WL 4531028, at * 3, 6 (E.D. Pa. Dec. 20, 2007); Kloth v. Southern Christian Univ., 320 Fed.

App’x. 113 (3d Cir. 2008).

       Relying on Gehling and Gallant, this Court held that Amherst College was not subject to

personal jurisdiction in Pennsylvania, and Amherst’s contacts with Pennsylvania were more

extensive than are Duke’s here. See Kendall v. Trustees of Amherst College, 2007 WL 172396, at

*3-5 (E.D. Pa. Jan. 18, 2007) (Padova, J.) (applying rule of Gehling and Gallant, holding that

plaintiff had failed to establish personal jurisdiction over Amherst College where evidence

suggested that Amherst maintained a bank account in Philadelphia to accept tuition payments and

disburse funds; sent Amherst personnel to Pennsylvania high schools to recruit prospective

students; and directed the plaintiff to make her tuition payment to a Pennsylvania address).

Pennsylvania state courts have reached similar conclusions. See, e.g., Morgan, 60 Pa. D. & C. 4th

at 148; Reagle v. UPMC, 2012 Pa. Dist. & Cnty. Dec. LEXIS 14878, at *3-5, Civil Action No.

GD-11-15953 (Pa. Com. Pls. Alleghany Cnty., July 15, 2012).



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        Other courts across the country have agreed. See, e.g., American Univ. Sys., Inc. v.

American Univ., 858 F. Supp. 2d 705 (N.D. Tex. 2012) (“In similar cases involving the issue of

personal jurisdiction over an out-of-state educational institution, courts have unanimously

determined that the institution is not subject to general personal jurisdiction where its only contacts

with the forum state are its involvement in activities that are typical of a nationally prominent

university.”); Scherer v. Curators of Univ. of Missouri, 152 F. Supp. 2d 1278, 1282 (D. Kansas

2001) (“[P]laintiff has directed the court to no case in which a university from a nonforum state

has been held subject to the general jurisdiction of a forum state and, in fact, every case which the

court has uncovered holds directly to the contrary”); Hardnett v. Duquesne Univ., 897 F. Supp.

920, 923 (D. Md. 1995) (“Hardnett cites to no case in which a university from a nonforum state

has been held subject to the general jurisdiction of a forum state . . . .”); Hershman v. Muhlenberg

Coll., 2013 WL 5929849, at*2 (D. Conn. Nov. 4, 2013).

                2.      There Is No Specific Jurisdiction Over Duke University in Pennsylvania.

        In the absence of general jurisdiction, a court may nevertheless exercise specific

jurisdiction if the defendant’s contacts with the forum state are the basis of the underlying suit.

Burger King Corp., 471 U.S. at 472-73. But “[s]pecific jurisdiction is very different,” for “[i]n

order for a state court to exercise specific jurisdiction, ‘the suit’ must ‘arise out of or relate to the

defendant’s contacts with the forum.’” Bristol-Meyer Squibb Co. v. Superior Court of California,

582 U.S. 255, 262 (2017) (emphases in original). In other words, Duke must have “purposefully

availed itself of the privilege of conducting activities” in Pennsylvania such that it could

reasonably anticipate being sued here. ALS Scan, Inc. v. Dig. Serv. Consultants, Inc., 293 F.3d

707, 712 (4th Cir. 2002).

        For purposes of this type of collective action under the FLSA, “it is well-established that

when a single named plaintiff seeks to bring a claim on behalf of a class or collective, that named
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plaintiff must establish that the court has personal jurisdiction over the defendant with respect to

his or her claim.” Szewczyk, 2019 WL 5423036, at *8 (collecting cases); see also Molock v. Whole

Foods Mkt., Inc., 297 F. Supp. 3d 114, 124-25 (D.D.C. 2018).

       The fact that the Third Amended Complaint styles itself as a collective action under the

FLSA “does not relieve plaintiffs of their obligation to establish personal jurisdiction over

defendant in compliance with constitutional due process principles.”             Szewczyk, 2019 WL

5423036, *8. As another court in this district noted, “[t]o the contrary, a court’s exercise of

jurisdiction”—even in an FLSA collective action case—“must still comport with Pennsylvania’s

long-arm statute and due process.” Id. And Suarez’s status as a putative class plaintiff under

federal and North Carolina law does not relieve him of the obligation to “establish that the court

has personal jurisdiction over the defendant with respect to his or her claim.” Id. (citing cases).

Indeed, because Suarez’s claims arise under the FLSA, his claim “must be assessed individually.”

Vizant Techs., LLC, 97 F. Supp. 3d at 628 (quoting Calder, 465 U.S. at 790).

       Suarez fails to allege that his claims arise out of or otherwise relate to Duke’s contacts with

Pennsylvania. This is unsurprising given that Suarez never competed in Pennsylvania as a member

of Duke’s track-and-field team. Duke competed in three track meets in Pennsylvania over the four

years that Suarez alleges he was a member of the track-and-field team, but Suarez did not

participate in any of them, nor is there any allegation that he was required to (or did) travel to these

meets. There is also no allegation that Duke ever recruited Suarez for its track-and-field team,

much less in Pennsylvania.        Even indulging in Suarez’s claim that he had some type of

“employment” relationship with Duke, he fails to allege that this agreement arose in Pennsylvania,

or that any part of this alleged agreement was to be performed in Pennsylvania. Put simply, Suarez

points to no conduct by Duke arising in or connected with Pennsylvania that led to or is related to



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his claim for unpaid wages under the FLSA.

        In analyzing specific jurisdiction tests and case law, courts and commentators have distilled

the factors into a three-part test:

        (1) Did the plaintiff’s cause of action arise out of or relate to the out-of-state
            defendant’s forum-related contacts?

        (2) Did the defendant purportedly direct its activities, particularly as they relate to
            the plaintiff’s cause of action, toward the forum state or did the defendant
            purposefully avail itself of the privilege of conducting activities therein?

        (3) [W]ould the exercise of personal jurisdiction over the nonresident defendant in
            the forum state satisfy the requirement that it be reasonable and fair?

Hammons v. Ethicon, Inc., 662 Pa. 627, 660, 240 A.3d 537, 557 (2020) (quoting 4 Charles Alan

Wright, Arthur R. Miller & Adam Steinman, Federal Practice and Procedure Civil §1069 (4th ed.

2015 & Supp. 2020)). In this case, the answer to all three question is clearly “no.” In substance,

this matter is no different than the claims at issue in Bristol-Meyer Squibb Co., in which the

Supreme Court found no personal jurisdiction existed where the “relevant plaintiffs are not

California residents and do not claim to have suffered harm in that State,” and “the conduct giving

rise to the nonresidents’ claims occurred elsewhere.” 582 U.S. at 265. Similarly, in Fischer v.

Federal Express Corp., 509 F. Supp. 3d 275 (E.D. Pa. 2020), the court noted that the out-of-state

plaintiffs in an FLSA collective action did not claim to have suffered any harm in Pennsylvania

and, because any “alleged FLSA violations occurred outside of Pennsylvania,” found they could

“not form the requisite connection between activities within the state and the case at hand”

necessary for personal jurisdiction.

        Here, all of the evidence and the pleadings show that Duke engaged in no conduct in

Pennsylvania from which Suarez’s cause of action arose, such that specific jurisdiction can exist.

As such, the exercise of specific jurisdiction would offend due process. See Ruffing, 529 F. Supp.



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3d at 364 (noting “court must determine the extent to which the Due Process Clause of the

Fourteenth Amendment would allow Pennsylvania courts to exercise personal jurisdiction in this

action”); Weirbach, 478 F. Supp. 3d at 550 (same). Duke could not reasonably expect to “be haled

into court” in Pennsylvania in this matter for, even crediting Suarez’s theory that he was an

“employee” as a “walk-on” student athlete, no part of this “employment” was created by, existed

in, or was to be performed in Pennsylvania.

        Moreover, Pennsylvania has no significant interest in adjudicating a dispute over whether a

student who resides in California was an “employee” while a “walk-on” athlete at Duke University

in North Carolina. More fundamentally, there was no impediment to Suarez in bringing this claim

in the federal courts of North Carolina, where his alleged employment was established, where he

performed any alleged services for Duke, and where all of the witnesses and records are located.

And because this is a claim under federal law and North Carolina law, Pennsylvania has no

significant interest in the resolution of these issues.

                3.      The Court Should Decline to Exercise Supplemental Jurisdiction Over
                        Suarez’s State Law Claims.

        In the event the Court dismisses Suarez’s FLSA claim, it should decline to exercise

supplemental jurisdiction over his state law claims. Under 28 U.S.C. § 1367, “a district court has

discretion to decline to exercise supplemental jurisdiction over state law claims if it has dismissed

all claims over which it had original jurisdiction.” Segers v. Williams, 12 F. Supp. 3d 734, 741

(E.D. Pa. 2014). Indeed, “[w]here the claim over which the district court has original jurisdiction

is dismissed before trial, the district court must decline to decide the pendent state claims unless

considerations of judicial economy, convenience, and fairness to the parties provide an affirmative

justification for doing so.” Id. (citing Borough of West Mifflin v. Lancaster, 45 F.3d 780, 788 (3d

Cir. 1995)). But there is still no jurisdiction over Duke for Suarez’s state law claims, all of which


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are grounded in North Carolina law. And because there is no jurisdiction over this North Carolina

university in Pennsylvania, there is no jurisdictional reason, nor compelling policy reason to

adjudicate such North Carolina claims here. The Court should therefore decline to exercise

supplemental jurisdiction over, and then dismiss, Suarez’s state law claims.

        B.      Suarez’s Claim Should Be Dismissed or Transferred for Improper Venue (Rule
                12(b)(3), 28 U.S.C. §§1404(a) and 1406(a)).

        For the same reasons that there is no personal jurisdiction over Duke University in this

Court, venue here is also improper. Again, Suarez’s claim must be assessed individually. See

Vizant Techs., LLC, 97 F. Supp. 3d at 628 (quoting Calder, 465 U.S. at 790). Because Duke does

not reside in this district, no part of the events or omissions giving rise to Suarez’s claims occurred

within this district (or within Pennsylvania generally), and Duke is not subject to personal

jurisdiction here, Suarez’s claim fails to meet any of the jurisdictional requirements of 28 U.S.C.

§ 1391. See 28 U.S.C. § 1391(b)(1)-(3). Venue is therefore improper, and the Third Amended

Complaint should be dismissed as a result or, alternatively, transferred to North Carolina, where it

should have been filed in the first place. See 28 U.S.C. § 1406 (if venue is improper, a district

court “shall dismiss, or if it be in the interest of justice, transfer” the case to “any district or division

in which it could have been brought”).

        Plaintiffs’ counsel attempts to avoid the lack of proper venue, first, by improperly joining

Suarez with the other Plaintiffs, and second, by improperly joining Duke with the other

Defendants, all in violation of Rule 20 of the Federal Rules of Civil Procedure. Rule 20(a)(1)

provides that plaintiffs may join in one action if: (A) “they assert any right to relief jointly,

severally, or in the alternative with respect to or arising out of the same transaction, occurrence, or

series of transactions or occurrences;” and (B) “any question of law or fact common to all plaintiffs

will arise in the action.” Similarly, Rule 20(a)(2) provides that defendants may be joined in one


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action if (A) “any right to relief is asserted against them jointly, severally, or in the alternative

with respect to or arising out of the same transaction, occurrence, or series of transactions or

occurrences;” and (B) “any question of law or fact common to all defendants will arise in the

action.” As noted by this Court,

       A claim arises from the same transaction or occurrence if a logical relationship
       exists among the claims asserted. This logical relationship depends on the factual
       background surrounding the claims. … But in instances where the claims against
       the defendants involve different facts, joinder is inappropriate. For example, two
       plaintiffs who alleged that prison officials violated their rights in the same manner
       and at the same prison could not join in one action because the background facts
       supporting each claim were different for each plaintiff.

UN4 Prods., Inc. v. Does 1-15, 2017 WL 5885779, at *2 (E.D. Pa. Nov. 29, 2017) (holding joinder

was inappropriate).

       Here, Suarez is the only Plaintiff to have attended Duke University, and Suarez does not

claim to have attended any other Defendant university (nor could he). This Court has already held

that, on the facts alleged, (i) Plaintiffs lack standing to sue Defendant universities they did not

personally attend for alleged violations of the FLSA, and (ii) Defendant universities that Plaintiffs

did not personally attend are not Plaintiffs’ joint employers. See Johnson v. Nat’l Collegiate

Athletic Ass’n, 561 F. Supp. 3d 490, 506 (E.D. Pa. 2021) (“[W]e further conclude that the

Complaint does not plausibly allege that the [Non-Attending School Defendants (“NASD”)] are

joint employers of Plaintiffs and, accordingly, that Plaintiffs lack standing to sue the NASD for

violations of the FLSA.”) (citing Livers v. National Collegiate Athletic Association, 2018 WL

2291027 (E.D. Pa. May 17, 2018)). Suarez therefore cannot assert any right to relief jointly or

severally with the other Plaintiffs (none of whom attended Duke), and any right to relief may not

be asserted against Duke jointly and severally. In addition, any alleged right to relief does not

arise out of the same transaction or occurrence, or series of transactions or occurrences. Indeed,



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no “logical relationship” can exist among Plaintiffs’ claims, given that “the background facts

supporting each claim [a]re different for each plaintiff.” UN4 Prods., Inc., 2017 WL 5885779, at

*2. Suarez was thus mis-joined with the other Plaintiffs, and Duke was mis-joined with the other

Defendants. See, e.g., Balkind v. Tri-Pak Dev. Corp., 17 Fed. R. Serv. 2d 77 (E.D. Pa. 1973)

(finding joinder improper where all of the transactions at issue related to purchases of single-family

dwellings by husband and wife, negotiated and consummated by defendants’ agents, but involved

separate agreements, dates, terms, and purchase prices).

       While misjoinder of parties is not typically grounds for dismissing an action, F.R.Civ.P.

21, courts have opted to dismiss entire actions, where the misjoinder is “such a gross abuse of

procedure that dismissal under F.R.Civ.P. 41(b) for failure to comply with the federal rules is

warranted.” Nassau County Ass’n of Ins. Agents Inc. v. Aetna Life & Cas. Co., 497 F.2d 1151 (2d

Cir. 1974). Here, there is no logical relationship between the various cases asserted against the

different Defendant universities. On the contrary, the Third Amended Complaint—like the first

and second versions of the Complaint—is a morass of disparate facts involving different

universities (with their own unique policies and procedures governing their athletic teams), and

different athletic teams at different time periods, with no allegation of concerted action between

the Defendants. “[S]everance and dismissal is [thus] the appropriate remedy.” J.T. v. de Blasio,

500 F. Supp. 3d 137, 148 (S.D.N.Y. 2020), aff’d in part, appeal dismissed in part sub nom. K.M.

v. Adams, 2022 WL 4352040 (2d Cir. Aug. 31, 2022) (dismissing complaint with prejudice against

defendants over which the court had no personal jurisdiction, venue did not lie, and permissive

joinder was “grossly inappropriate” based on a lack of logical connection between the alleged

facts). The Court could alternatively “drop” Duke from the present action. See F.R.Civ. P 21.

But the ultimate effect would be the same in that, for the reasons stated above, Suarez’s case would



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then have to be dismissed for improper venue. The Court should therefore dismiss the Third

Amended Complaint against Duke or transfer to North Carolina.

       C.       The Third Amended Complaint Fails to State a Claim Against Duke University.

       The NCAA has explained at length why the Third Amended Complaint in its entirety fails

to state a claim and, under the principles of Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007),

and Ashcroft v. Iqbal, 556 U.S. 662 (2009), fails to allege any plausible causes of action within the

scope of the standards set by the Third Circuit in this matter. Duke will not repeat these arguments

but does adopt them by reference and incorporate them as a basis on which Suarez’s claims should

be dismissed.

       But there are additional grounds unique to Duke which also warrant dismissal of Suarez’s

FLSA claim. In order to sustain a claim under the FLSA, Suarez would need to allege: (1) he was

employed by Duke; (2) his “work involved some kind of interstate activity”; and (3) “the

approximate number of hours worked for which [he] did not receive [minimum] wages.” SeYoung

Ra v. Gerhard’s, Inc., 2019 WL 95473, at *4 (E.D. Pa. Jan. 3, 2019) (internal citation omitted).

       With respect to the first factor, in its opinion on appeal, the Third Circuit posited a four-

part test to determine whether a college athlete may “fall within the meaning of ‘employee’ as

defined in 29 U.S.C. §203(e)(1)”: (1) whether the plaintiff “perform[s] services for another party,”

(2) “necessarily and primarily for the other party’s benefit,” (3) under that party’s “control or right

of control,” and (4) does so “in return for ‘express’ or ‘implied’ compensation or ‘in-kind’

benefits.” 108 F.4th 163 at 180. The court emphasized that “the touchstone remains whether the

cumulative circumstances of the relationship between the athlete and college or NCAA reveal an

economic reality that is that of an employee-employer.” Id.

       In formulating this test, the majority noted two additional principles: first, “an employment

relationship is not created when the tangible and intangible benefits provided to a worker are
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greater than a worker’s contribution to the employer’s operation.” Id. at 179 (quoting Glatt v. Fox

Searchlight Pictures, Inc., 811 F.3d 528 (2d Cir. 2016)). Second, “merely playing sports, even at

the college level, cannot always be considered commercial work integral to the employer’s

business.” Id. at 177 (emphasis in original). As such, the majority believed that there is a “need

for an economic realities framework that distinguishes college athletes who ‘play’ their sports for

predominantly recreational or noncommercial reasons from those whose play crosses the legal line

into work protected by the FLSA.” Id. at 182.3

       Suarez’s claim here must fail under any reasonable “economic reality” test, as well as part

four of the majority’s four-part framework. The Third Amended Complaint reveals that Suarez

was a member of the track-and-field team at Duke. It does not allege that he was on scholarship,

nor could it, given that he was a “walk-on” member of the team. (ECF No. 196, Ex. A at ¶¶ 16,

19.) There is no allegation in the Third Amended Complaint that Suarez was required to compete

on the track-and-field team, that his participation on the team was a condition of his status as a

student, or that the track and field team operates for commercial purposes. Nor does the Third

Amended Complaint contain sufficient plausible allegations that Suarez voluntarily joined the

track-and-field team “in return for ‘express’ or ‘implied’ compensation or ‘in-kind’ benefits.” To

the contrary, a student who seeks to try out for and is permitted to join an athletic team is not, as a

matter of law, performing “work” within the meaning of the FLSA. Rather, it is “work” within

the context of “college athletes who ‘play’ their sports for predominantly recreational or




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 In so noting, the majority quoted Judge Hamilton’s concurrence in Berger v. NCAA, which drew
a line between “revenue” and “non-revenue” sports, suggesting the former could involve
employment, while the latter could not: “I am less confident, however, that our reasoning should
extend to students who receive athletic scholarships to participate in so-called revenue sports like
Division I men’s basketball and FBS football.” Id. (quoting 843 F.3d 285, 294 (Hamilton, J.,
concurring)).
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noncommercial reasons.” 108 F.4th 163 at 182. Suarez, as one such college athlete, thus has not

(and cannot) establish that he is an “employee” within the meaning of the FLSA under the tests

posited by the Third Circuit in this case.

       The Third Amended Complaint contains no facts specific to Suarez that can plausibly

establish the contrary. To be sure, the Third Amended Complaint contains numerous generic

allegations which are said to apply to all of the Plaintiffs. Most, however, are simply generalized

assertions. It is axiomatic that factual allegations “that are ‘merely consistent with’ a defendant’s

liability” or that permit no more than “the mere possibility of misconduct” are insufficient. Iqbal,

556 U.S. at 679. Rather, as noted by a court in this district, “the plaintiff must plead factual content

that allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” TriState HVAC Equipment, LLP v. Big Belly Solar, Inc., 836 F. Supp. 2d 274, 280 (2011)

(quoting Iqbal, 556 U.S. at 678).

       Indeed, the few allegations specific to Duke University do nothing to support the

“economic reality” test. For example, the Third Amended Complaint references the fact that Duke

University’s “mission statement” is “over 200 words.” (ECF No. 135 at ¶ 50.) After quoting from

pieces of the mission statement, however, the Third Amended Complaint complains that the

mission statement “never mentions athletics or the responsibility of students to generate revenue

for the school.” Id. While this may be true, it is irrelevant to the question of whether Suarez was

a Duke employee under the FLSA, as is Plaintiffs’ allegation that Duke lists its Sports Clubs under

its Student-Run Group Directory, while its NCAA sports are not listed as “student run.” Suarez

thus fails to plausibly allege that he was employed by Duke.

       Even if Suarez had plausibly alleged that he was employed by Duke (he has not), he notably

fails to allege any facts supporting the second and third elements of his FLSA claim—i.e., that he



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was “involved in some kind of interstate activity,” and the “approximate number of hours” of his

allegedly uncompensated “work.” SeYoung Ra, 2019 WL 95473, at *4. Dismissal of Suarez’s

FLSA claim is thus warranted on this independent basis. See Iqbal, 556 U.S. at 678, 129 S.Ct.

1937 (“plausible” claim contains “factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged”).

       Put simply, the Third Amended Complaint fails to allege sufficient facts in support of

Suarez’s FLSA claim. As such, his claims must be dismissed.

V.     CONCLUSION

       For the foregoing reasons, Defendant Duke University respectfully requests that the Court

grants its motion to dismiss or to transfer.

       This is the 24th day of March, 2025.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing filing with the Clerk of Court using

the CM/ECF system, which will automatically send e-mail notification of such filing to all

attorneys of record.

       This 24th day of March, 2025.

                                              /s/ Kevin J. Mangan
                                              Kevin J. Mangan (PA I.D. No. 56507)

                                              Counsel for Defendant Duke University




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